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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


In re: BAIR HUGGER FORCED AIR                 MDL No. 15-2666 (JNE/FLN)
WARMING PRODUCTS LIABILITY
LITIGATION


This Document Relates to All Actions          ORDER REGARDING MDL LEADERSHIP
                                              STRUCTURE



       Pursuant to the Court’s direction in PTO No. 1, counsel seeking leadership have met and

conferred regarding the proposed organizational structure. Based on review of Defendants’

Submission Regarding Leadership Structure and Plaintiffs’ Report and Recommendation

Regarding Leadership Structure, together with representations and introductions made to the

Court during the MDL status conference on February 18, 2016, the Court hereby orders the

following organizational structure:


1) Plaintiffs Leadership Structure


   Co- Lead Counsel:

Ben W. Gordon, Jr.                          Michael V. Ciresi
Levin Papantonio, P.A.                      Ciresi Conlin LLP
316 S. Baylen Street, Suite 600             225 S. 6th St., Suite 4600
Pensacola, FL 32502                         Minneapolis, MN 55402
(850) 435-7090                              (612) 361-8202
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Meshbesher & Spence, Ltd.
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       The duties of the Co-Lead Counsel, whose members will be ex-officio members of the

Plaintiffs’ Executive Committee, are as follows:

       i.             Determine (after consultation with other members of Plaintiffs’ Executive

                      Committee and Plaintiffs’ Steering Committee and other co-counsel as

                      may be appropriate) and present (in briefs, oral argument, or such other

                      fashion as may be appropriate, personally or by a designee) to the Court

                      and opposing parties, the position of the Plaintiffs on all matters arising

                      during pretrial proceedings;

       ii.            Coordinate the initiation and conduct of discovery on behalf of Plaintiffs

                      consistent with the requirements of the Federal Rules of Civil Procedure

                      relating to discovery and the terms of the Deposition Protocols adopted in

                      this litigation;

       iii.           Chairs of Committees will be appointed by Co-Lead Counsel. Co-Lead

                      Counsel members are “ex officio” co-chairs of the various committees

                      with the designated chairperson(s) and have equal authority to make

                      decisions for those committee assignments. It is anticipated that further

                      appointments to Plaintiff Committees or the addition of further

                      subcommittees will be approved, as necessary, as the litigation progresses

                      by the Co-Lead Counsel.

       iv.            Conduct settlement negotiations on behalf of Plaintiffs, but not enter

                      binding agreements except to the extent expressly authorized;

       v.             Delegate specific tasks to other counsel in a manner to ensure that pretrial

                      preparation for the Plaintiffs is conducted effectively, efficiently, and

                      economically;

       vi.            Enter into stipulations with opposing counsel as necessary for the conduct

                      of the litigation;

       vii.           Prepare and distribute to the parties periodic status reports;


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       viii.           Maintain adequate time and disbursement records covering services of

                       designated counsel and establish guidelines, for approval by the Court, as

                       to the keeping of time records and expenses;

       ix.             Monitor the activities of co-counsel to ensure that schedules are met and

                       unnecessary expenditures of time and funds are avoided;

       x.              Perform such other duties as may be incidental to proper coordination of

                       Plaintiffs’ pretrial activities or authorized by further Order of the Court;

                       and

       xi.             Submit, if appropriate, additional committees and counsel for designation

                       by the Court.



       The members of Plaintiffs’ Executive Committee set forth below shall consult with and

be led by the Plaintiffs’ Co-Lead Counsel in coordinating all Plaintiffs’ pretrial activities and in

planning for and conducting trial of these cases, and the potential resolution of these matters:


Plaintiffs’ Executive Committee

Anne Andrews                                   David W. Hodges
Andrews & Thornton, LLC                        Kennedy Hodges, LLP
2 Corporate Park, Suite 110                    711 W. Alabama Street
Irvine CA 92606                                Houston, TX 77006
(949) 748-1000                                  (713) 523-0001

Christopher L. Coffin                          Behram V. Parekh
Pendley, Baudin & Coffin, LLP                  Kirtland and Packard, LLP
1515 Poydras Street, Suite 1400                2041 Rosecrans Avenue, Third Floor
New Orleans, LA 70118                          El Segundo, California 90245
(504) 355-0086                                 (310) 536-1000




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Liaison Counsel

David Szerlag
Pritzker Olsen
Plaza Seven Bldg., Suite 2950
45 South Seventh Street
Minneapolis, MN 55402
Phone: (612) 338-0202

       The duties of Liaison Counsel to the District of Minnesota are defined as:

       i.              Service List: Maintain and distribute to co-counsel and to Defendants’

                       Lead Counsel an up-to-date service list;

       ii.             Accept Service:    Receive and, as appropriate, distribute to co-counsel

                       Orders from the Court and documents from opposing parties and counsel;

       iii.            MDL Case File & Document Depository: Maintain and make available to

                       co-counsel and other Plaintiffs’ counsel at reasonable hours a complete

                       electronic file of all documents served by or upon each party;

       iv.             Monitor and report to the Court regarding status of various state court

                       proceedings, including particularly the litigation coordinated before Judge

                       Leary in Ramsey County;

       v.              Organize and submit necessary documents to both the Clerk of Court and

                       the Court; and

       vi.             Assist the Co-Lead Counsel and the Court in promoting a just and efficient

                       MDL.



       The members of Plaintiffs’ Steering Committee set forth below shall consult with and be

led by the Plaintiffs’ Co-Lead Counsel and the Plaintiffs’ Executive Committee in coordinating

all Plaintiffs’ pretrial activities and in planning for and conducting trial of these cases, and the

potential resolution of these matters.




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Plaintiffs’ Steering Committee

Paula Bliss                            Noah Lauricella
Kelly, Bernheim & Dolinsky, LLC        Goldenberg Law, PLLC
800 Boylston Street, Sixteenth Floor   800 LaSalle Avenue, Suite 2150
Boston, MA 02166                       Minneapolis, MN 55402
(617) 934-2114                         (612) 335-9960

Kyle Bachus                            Richard Lewis
Bachus and Schanker                    Hausfeld LLP
1899 Wynkoop Street, Suite 700         1700 K Street, NW, Suite 650
Denver, CO 80202                       Washington, D.C. 20006
(866) 277-6711                         (202) 540-7200

Jeffrey Bowersox                       Lee Ann McGartland
Bowersox Law Office                    The McGartland Law Firm
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Portland, OR 97223                     1300 South University Drive
(503) 452-5858                         Fort Worth, TX 76107
                                       (817) 332-9300

Martin Crump                           Mark O’Mara
Davis & Crump                          O’Mara Law Group
2601 14th Street                       221 NE Ivanhoe Blvd., Suite 200
Gulfport, MS 39501                     Orlando, FL 32804
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Annesley H. DeGaris                    Richard Schlueter
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Birmingham, AL 35203                   Atlanta, GA 30319
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Kyle Farrar                            Stuart Talley
Kaster, Lynch, Farrar & Ball LLP       Kershaw, Cutter & Ratinoff LLP
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Houston, TX 77002                      Sacramento, CA 95864
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Kristine Kraft
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(314) 621-6115
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2) Defendants’ Leadership Structure

       Defendants’ Lead Counsel

               Jerry W. Blackwell
               BLACKWELL BURKE P.A.
               431 South Seventh Street
               Suite 2500
               Minneapolis, MN 55415
               Phone: (612) 343-3256
               Fax: (612) 343-3205
               Email: blackwell@blackwellburke.com


       These appointments are of a personal nature. Accordingly, the above appointees cannot

be substituted by other attorneys, including members of the appointee’s law firm, except with

prior approval of the Court.



DATED: February 23, 2016                         s/ Joan N. Ericksen ____________________
                                                 JOAN N. ERICKSEN
                                                 United States District Court Judge




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